 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 1 of 6 PageID #: 115




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 INTERNATIONAL BUSINESS MACHINES                  )
 CORPORATION,                                     )
                                                  )
               Plaintiff,                         )   C.A. No. 24-01087-GBW
                                                  )
        v.                                        )   JURY TRIAL DEMANDED
                                                  )
 TAKE-TWO INTERACTIVE SOFTWARE,                   )
 INC.,                                            )
                                                  )
               Defendant.                         )

                       MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Karim Z. Oussayef, Tamir Packin, Brian D. Matty and William Yau of

DESMARAIS LLP, 230 Park Avenue, New York, NY 10169 to represent Plaintiff International

Business Machines Corporation in this matter.

                                                  POTTER ANDERSON & CORROON LLP

                                                  By: /s/ David E. Moore
                                                      David E. Moore (#3983)
                                                      Bindu A. Palapura (#5370)
                                                      Malisa C. Dang (#7187)
                                                      Hercules Plaza, 6th Floor
                                                      1313 N. Market Street
                                                      Wilmington, DE 19801
                                                      Tel: (302) 984-6000
                                                      dmoore@potteranderson.com
                                                      bpalapura@potteranderson.com
                                                      mdang@potteranderson.com

 Dated: October 3, 2024                           Attorneys for Plaintiff International Business
 11812258                                         Machines Corporation
 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 2 of 6 PageID #: 116




                           ORDER GRANTING MOTION

      IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.

Date: __________                              ____________________________________
                                                    United States District Judge




                                          2
 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 3 of 6 PageID #: 117




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bars of the State of New York and
the Commonwealth of Massachusetts and pursuant to Local Rule 83.6 submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of
this action. I also certify I am generally familiar with this Court’s Local Rules.

       In accordance with the Revised Standing Order for District Court Fund effective
1/1/2024, I further certify that the annual fee of $50.00.

              has been paid to the Clerk of the Court

              will be submitted to the Clerk’s Office upon the filing of this motion


Date: October 3, 2024                        Signed: /s/ Karim Z. Oussayef
                                                    Karim Z. Oussayef
                                                    Desmarais LLP
                                                    230 Park Avenue
                                                    26th Floor
                                                    New York, NY 10169
                                                    Tel: (212) 351-3400
                                                    koussayef@desmaraisllp.com
 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 4 of 6 PageID #: 118




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bars of the States of California and
New York and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court
for any alleged misconduct which occurs in the preparation or course of this action. I also certify
I am generally familiar with this Court’s Local Rules.

       In accordance with the Revised Standing Order for District Court Fund effective
1/1/2024, I further certify that the annual fee of $50.00.

              has been paid to the Clerk of the Court

              will be submitted to the Clerk’s Office upon the filing of this motion


Date: October 3, 2024                        Signed: /s/ Tamir Packin
                                                    Tamir Packin
                                                    Desmarais LLP
                                                    230 Park Avenue
                                                    26th Floor
                                                    New York, NY 10169
                                                    Tel: (212) 351-3400
                                                    tpackin@desmaraisllp.com
 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 5 of 6 PageID #: 119




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bars of the State of New York and
Commonwealth of Massachusetts and pursuant to Local Rule 83.6 submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of
this action. I also certify I am generally familiar with this Court’s Local Rules.

       In accordance with the Revised Standing Order for District Court Fund effective
1/1/2024, I further certify that the annual fee of $50.00.

              has been paid to the Clerk of the Court

              will be submitted to the Clerk’s Office upon the filing of this motion


Date: October 3, 2024                        Signed: /s/ Brian D. Matty
                                                    Brian D. Matty
                                                    Desmarais LLP
                                                    230 Park Avenue
                                                    26th Floor
                                                    New York, NY 10169
                                                    Tel: (212) 351-3400
                                                    bmatty@desmaraisllp.com
 Case 1:24-cv-01087-GBW Document 5 Filed 10/03/24 Page 6 of 6 PageID #: 120




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of New York and
pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify I am generally
familiar with this Court’s Local Rules.

       In accordance with the Revised Standing Order for District Court Fund effective
1/1/2024, I further certify that the annual fee of $50.00.

              has been paid to the Clerk of the Court

              will be submitted to the Clerk’s Office upon the filing of this motion


Date: October 3, 2024                        Signed: /s/ Williams Yau
                                                    William Yau
                                                    Desmarais LLP
                                                    230 Park Avenue
                                                    26th Floor
                                                    New York, NY 10169
                                                    Tel: (212) 351-3400
                                                    wyau@desmaraisllp.com
